 

Case:oS-llaQe-JSD D‘:16 Filed:09/06/05 Entered:oQ/.510:34:44 Page:l oil

IN THE UNITED STATE BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA

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ELEANOR JONES HAMILTON, Chapter 13 §;( *Q
Caee No. 05~11896 %L §§
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Atty: JOhn P. WillS REQUEST FOR HEARING ON
MOTION TO SHOW CAUSE WHY
CASE SHOULD NOT BE

DISMISSED

Debtor(S)

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COMES NOW your Debtor(e) in the above matter and would respectfully
request this Court for a hearing concerning the Trustee's MOTION TO SHOW

CAUSE WHY CASE SHOULD NOT BE DISMISSED.

 

Att¢rney for Debtor(e)

FOWLER & WILLS, L.L.C.
P. O. Box 1620
Thomeon, GA 30824
706~595~8100

 

 

